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                                           UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                 CIVIL COVER SHEET
I.   (a) PLAINTIFFS ( Check box if you are representing yourself              O)             DEFENDANTS                   ( Check box if you are representing yourself            D)
DR RECOVERY ENCINITAS, LLC                                                                   UnitedHealth Group Incorporated, et al.


(b) County of Residence of First Listed Plaintiff              Orange                        County of Residence of First Listed Defendant                          Hennepin
                                                               - -------                                                                                            - -------
(EXCEPT IN U.S. PLAINTIFF CASES)                                                             (IN U.S. PLAINTIFF CASES ONLY)

(c) Attorneys     (Firm Name, Address and Telephone Number) If you are                       Attorneys     (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.                                         representing yourself, provide the same information.
CALLAHAN & BLAINE, APLC
3 Hutton Centre Drive, Ninth Floor                                                           DORSEY & WHITNEY LLP, 600 Anton Blvd., Suite 2000, Costa Mesa, California 92626
Santa Ana, California 92707                                                                  Telephone (714) 800-1400
Telephone: (    )     _                                                                      DORSEY & WHITNEY LLP, 50 South Sixth Street, Suite 1500, Minneapolis, MN 55402
            714 241 4444
II. BASIS OF JURISDICTION            (Place an X in one box only.)                 Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                         (Place an X in one box for plaintiff and one for defendant)
                                                                                                                 PTF           DEF                                             PTF       DEF
O 1. U.S. Government                [g] 3. Federal Question (U.S.                  Citizen ofThis State          01            01
                                                                                                                                          Incorporated or Principal Place
                                                                                                                                          of Business in this State
                                                                                                                                                                               D     4   D     4
      Plaintiff                           Government Not a Party)
                                                                                   Citizen of Another State      0        2    D     2    Incorporated and Principal Place     D     5 0       5
                                                                                                                                          of Business in Another State
O 2. U.S. Government                O 4. Diversity (Indicate Citizenship           Citizen or Subject of a
                                                                                                                                          Foreign Nation                       D     6   D     6
      Defendant                           of Parties in Item Ill)                  Foreign Country               D        3    D     3


IV. ORIGIN       (Place an X in one box only.)                                                                                                    . Multidistrict
       1. Original      [g]
                         2. Removed from       D
                                             3. Remanded from             D   4. Reinstated or    D   5. Transferred from Another            D6                      O
                                                                                                                                                                         8. Multidistrict
D         Proceeding        State Court         Appellate Court                  Reopened                District (Specify)
                                                                                                                                                    Litigation -
                                                                                                                                                    Transfer
                                                                                                                                                                            Litigation -
                                                                                                                                                                            Direct File


V. REQUESTED IN COMPLAINT: JURY DEMAND:                             [g]   Yes   O     No         (Check "Yes" only if demanded in complaint.)

CLASS ACTION under F.R.Cv.P. 23:                    0   Yes    [g] No                     O MONEY DEMANDED IN COMPLAINT:                                   $
VI. CAUSE OF ACTION           (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
890 ERISA, Title 29, United States Code, Sections 1001, et seq.


VII. NATURE OF SUIT (Place           an   X in one box only).
       OTl-i~R STATUTESs:J·         CQNTRACT
      375 False Claims Act    D    110 Insurance          D   240 Torts to Land             462 Naturalization                 Habeas Corpus:              D 820 Copyrights
0                                                                                     D     Application
      376QuiTam               0    120Marine              D                                 465 Other
                                                                                                                      0
                                                                                                                      O
                                                                                                                              463 Alien Detainee
                                                                                                                              510 Motions to Vacate
                                                                                                                                                           D 830 Patent
0     (31 use 3729(a))
                              0    130 Miller Act                                     D     Immigration Actions               Sentence                     O 835 Patent - Abbreviated
      400 State                    140 Negotiable                                            c:i ..TORTS ·· ~lJJ'..   D       530 General                      New Drug Application
0     Reapportionment         D    Instrument                                            PEf!~QN~L PROPE!l:ThYf"      D       535 Death Penalty            0   840 Trademark
0     410 Antitrust                150 Recovery of                                   ·D     370 Other Fraud                              Other:                     SQCl1{L SECURITY
0     430 Banks and Banking 0      Overpayment &
                                   Enforcement of
                                                              310 Airplane
                                                                                      D     371 Truth in Lending 0            540 Mandamus/Other           0   861 HIA (1395ft)
                                                              315 Airplane
0
      450 Commerce/ICC
      Rates/Etc.
                                   Judgment               0   Product Liability             380 Other Personal        D       550 Civil Rights             O 862 Black Lung (923)
                              D    151 Medicare Act       D   320 Assault, Libel &    D     Property Damage           D       555 Prison Condition         O 863 DIWC/DIWW (405 (g))
0     460 Deportation                                         Slander
      470 Racketeer lnflu-         152 Recovery of
                                                                                      D     385 Property Damage               560 Civil Detainee           D 864 SSID Title XVI
0     enced & Corrupt Org.    D    Defaulted Student      D   330 Fed. Employers'
                                                              Liability
                                                                                            Product Liability         O       Conditions of
                                   Loan (Exel. Vet.)                                   . , #;BANKRUPJ~".ti                    Confinement                  D 865 RSI (405 (g))
0     480 Consumer Credit                                 O   340Marine
0     490 Cable/Sat TV             153 Recovery of            345 Marine Product
                              D    Overpayment of         D   Liability
      850 Securities/Com-          Vet. Benefits
0     modities/Exchange                                       350 Motor Vehicle
                                   160 Stockholders'      D
'X1   890 Other Statutory     D    Suits                  D   355 Motor Vehicle
~     Actions                                                 Product Liability
O     891 Agricultural Acts   0    1900ther                   360 Other Personal
                                   Contract               0   Injury
      893 Environmental
0     Matters                      195 Contract           O   362 Personal Injury-
                              0    Product Liability          Med Malpratice                                          0       720 Labor/Mgmt.
      895 Freedom of Info.                                                                                                    Relations
0     Act                     D    196 Franchise          D   365 Personal Injury-
                                                              Product Liability                                       D       740 Railway Labor Act
O     896 Arbitration          >,:!REAL Pl(<>PERTY •f;J       367 Health Care/              445 American with
                              D    210 Land               0   Pharmaceutical          D     Disabilities-
                                                                                                                      D
                                                                                                                              751 Family and Medical
                                                                                                                              Leave Act
      899 Admin. Procedures        Condemnation               Personal Injury               Employment
O     AcVReview of Appeal of
                               0   220 Foreclosure            Product Liability             446 American with                 790 Other Labor
      Agency Decision                                                                 D     Disabilities-Other        0       Litigation
                                                              368 Asbestos
      950 Constitutionality of     230 Rent Lease &       0   Personal Injury                                                 791 Employee Ret. Inc.
0     State Statutes           0   E'ectment                  Product Liabilit
                                                                                     0      448 Education             D       Security Act


FOR OFFICE USE ONLY:                       Case Number:
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                                                                   CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?
              [8]   Yes   D     No
                                                  D    Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                            Western
lf"no," skip to Question B. If "yes," check the   1---------------------------+-----------------1
box to the right that applies, enter the          [8] Orange                          Southern
corresponding division in response to             1---------------------------+-----------------1
Question E, below, and continue from there.       D    Riverside or San Bernardino                                                                         Eastern



QUESTION B: Is the United States, or                                                                              YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a                                                                           D   Enter "Southern" in response to Question E, below, and continue
PLAINTIFF in this action?                                                                                         from there.
                                                  check one of the boxes to the right   -+
              D     Yes   [8]   No
                                                                                                              D   NO. Continue to Question B.2.

                                                  B.2. Do 50% or more of the defendants who reside in             YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer
Question B.1, at right.
                                                  the district reside in Riverside and/or San Bernardino      D   Enter "Eastern" in response to Question E, below, and continue
                                                  Counties? (Consider the two counties together.)                 from there.

                                                  check one of the boxes to the right                             NO. Your case will initially be assigned to the Western Division.
                                                                                        -+                    D   Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the                      YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees, a  district reside in Orange Co.?                                           D   Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                                         from there.
                                     check one of the boxes to the right                -+
              D     Yes   [8]   No
                                                                                                              D   NO. Continue to Question C.2.

                                                  C.2. Do 50% or more of the plaintiffs who reside in the         YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question D. If "yes," answer
Question C.1, at right.
                                                  district reside in Riverside and/or San Bernardino          D   Enter "Eastern" in response to Question E, below, and continue
                                                  Counties? (Consider the two counties together.)                 from there.

                                                  check one of the boxes to the right   -+                    D
                                                                                                                  NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.




Indicate the location(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices
apply.)
                                                                                                             D
                 D.1. Is there at least one answer in Column A?                                              D.2. Is there at least one answer in Column B7
                                     [gJ   Yes    0    No                                                                      0    Yes       0    No

                    If "yes," your case will initially be assigned to the                                       If "yes," your case will initially be assigned to the

                                 SOUTHERN DIVISION.                                                                           EASTERN DIVISION.
     Enter "Southern" in response to Question E, below, and continue from there.                                Enter "Eastern" in response to Question E, below.

                          If "no," go to question D2 to the right.          -+                             If "no," your case will be assigned to the WESTERN DIVISION.

                                                                                                               Enter "Western" in response to Question E, below.




Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                              D Yes           [gj   No
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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                    [SJ NO              D     YES

        If yes, list case number(s):

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?
                                                                                                                                                D    NO             DYES
        If yes, list case number(s):



        Civil cases are related when they (check all that apply):

              D     A. Arise from the same or a closely related transaction, happening, or event;

              D     B. Call for determination of the same or substantially related or similar questions of law and fact; or

              D     C. For other reasons would entail substantial duplication of labor if heard by different judges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply);

              D     A. Arise from the same or a closely related transaction, happening, or event;

              D     B. Call for determination of the same or substantially related or similar questions of law and fact; or
                    C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
              D     labor if heard by different judges.


X. SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT):                                                                                                     DATE:      October 31, 2019

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.·
                                                   (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
                                                   923)

                                                    All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                        DIWC             all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                        DIWW            amended. (42 U.S.C. 405 (g))

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                       SSID
                                                   amended.

        865                        RSI              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                    (42 u.s.c. 405 (g))




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    1                                  PROOF OF SERVICE
    2                     STATE OF CALIFORNIA, COUNTY OF ORANGE
            I am employed in the City of Costa Mesa, County of Orange, State of
    3 California. I am over the age of 18 years and not a party to the within action. My
      business address is 600 Anton Boulevard, Suite 2000, Costa Mesa, CA 92626. On
    4 June 17, 2019, I served the documents named below on the parties in this action as
      follows:
    5
       DOCUMENT(S) SERVED: CIVIL COVER SHEET
    6
      SERVED UPON:                      Callahan & Blaine, APLC
    7                                   Daniel J. Callahan
                                        Edward Susolik
    8                                   Richard T. Collins
                                        Damon D. Eisenbrey
    9                                   3 Hutton Centre Drive, Ninth Floor
                                        Santa Ana, CA 92707
   10
   11           (BY MAIL) I caused each such envelope, with postage thereon fully
                prepaid, to be placed in the United States mail at Costa Mesa, California.
   12           I am readily familiar with the practice of Dorsey & Whitney LLP for
   13           collection and processing of correspondence for mailing, said practice
                being that in the ordinary course of business, mail is deposited in the
   14           United States Postal Service the same day as it is placed for collection.
   15           (BY ELECTRONIC MAIL) The above-referenced document was
                transmitted in “pdf” format by electronic mail (“e-mail”) to each of the e-
   16           mail addresses listed, and no errors were reported.
   17           (BY PERSONAL SERVICE) I delivered to an authorized courier or
                driver authorized by Legal Solution to receive documents to be delivered
   18           on the same date. A proof of service signed by the courier will be filed
   19           with the court upon request.
                (BY FEDERAL EXPRESS) I am readily familiar with the practice of
   20           Dorsey & Whitney LLP for collection and processing of correspondence
   21           for overnight delivery and know that the document(s) described herein
                will be deposited in a box or other facility regularly maintained by Federal
   22           Express for overnight delivery.
   23           (FEDERAL) I declare that I am employed in the office of a member of the
                bar of this court, at whose direction this service was made.
   24
            Executed on October 31, 2019, at Costa Mesa, California.
   25
   26                                            ___________________________
                                                                 Vanessa Claridge
   27
   28
                                                12
                                                                          PROOF OF SERVICE
